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  Complaint Form, Consent Form, and Complaint Processing Procedures


                        DISCRIMINATION COMPLAINT FORM
                                     to the
                      United States Department of Education
                              Office for Civil Rights
  1.     Name of person filing this complaint:

         Last Name, First, Middle                           Swain, Lauren
         Address:                                           8532 N. Ivanhoe St., #208
         City, State, Zip Code:                             Portland, OR 97203
         Home/Work Telephone:
         Email Address:                                     lauren@paulsouthwick.com

  2.     Name of person discriminated against (if other than person filing). If the person
         discriminated against is age 18 or older, we will need that person’s signature on this
         complaint form and the consent/release form before we can proceed with this
         complaint. If the person is a minor, and you do not have the legal authority to file a
         complaint on the student’s behalf, the signature of the child’s parent or legal
         guardian is required.

         Last Name, First, Middle                           Martinez, Cameron
         Address:
         City, State, Zip Code:
         Home/Work Telephone:
         Email Address:


  3.     OCR investigates discrimination complaints against institutions and agencies which
         receive funds from the U.S. Department of Education and against public educational
         entities and libraries that are subject to the provisions of Title II of the Americans
         with Disabilities Act. Please identify the institution or agency that engaged in the
         alleged discrimination. If we cannot accept your complaint, we will attempt to refer
         it to the appropriate agency and will notify you of that fact.

         Name of Institution:                               La Sierra University
         Address:                                           4500 Riverwalk Pkwy.
         City, State, Zip Code:                             Riverside, CA, 92505
         Department/School:

  4.     The regulations OCR enforces prohibit discrimination on the basis of race, color,
         national origin, sex, disability, age or retaliation. Please indicate the basis of your
         complaint:

  □      Discrimination based on sex (specify)

            Discrimination on the basis of sexual orientation and gender identity



EXHIBIT E                                                                                          1
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  5.     Please describe each alleged discriminatory act. For each action, please include the
         date(s) the discriminatory act occurred, the name(s) of each person(s) involved and,
         why you believe the discrimination was because of race, disability, age, sex, etc. Also
         please provide the names of any person(s) who was present and witnessed the
         act(s) of discrimination.

             The La Sierra administration has repeatedly refused official status to an LGBT
             student group formed by Cameron and others. Cameron fears expulsion for
             same-sex dating, in part because La Sierra officially endorses doctrine stating
             that "sexual acts outside of heterosexual marriage are forbidden." La Sierra
             officials have repeatedly refused to address complaints of discrimination on
             campus submitted by Cameron and others. See attached declaration.


  6.     What is the most recent date you were discriminated against?

             Date: Current, Ongoing

  7.     If this date is more than 180 days ago, you may request a waiver of the filing
         requirement.

            X I am requesting a waiver of the 180-day time frame for filing this
            complaint.

         Please explain why you waited until now to file your complaint.

             1) the Covid-19 pandemic;
             2) The Trump administration's policies and statements about religious exemptions
             to Title IX;
             3) The Trump administration's policies and statements about Title IX not
             prohibiting discrimination on the basis of sexual orientation or gender identity.
             4) Although the initial act of discrimination took place more than 180 days ago,
             Cameron's complaint should not be considered time-barred because La Sierra
             continues to discriminate against Cameron and to promulgate policies and
             practices that discriminate against LGBTQ+ students.

  8.     Have you attempted to resolve these allegations with the institution through an
         internal grievance procedure, appeal or due process hearing?

              Yes

         If you answered yes, please describe the allegations in your grievance or hearing,
         identify the date you filed it, and tell us the status. If possible, please provide us
         with a copy of your grievance or appeal or due process request and, if completed,
         the decision in the matter.

             See attached declaration.

EXHIBIT E                                                                                          2
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  9.      If the allegations contained in this complaint have been filed with any other Federal,
          state or local civil rights agency, or any Federal or state court, please give details and
          dates. We will determine whether it is appropriate to investigate your complaint
          based upon the specific allegations of your complaint and the actions taken by the
          other agency or court.

             Agency or Court: U.S. District Court - District of Oregon - Eugene Division
             Date Filed: 03/29/21
             Case Number or Reference: 6:21-cv-00474-AA
             Results of Investigations/Findings by Agency or Court: Pending


  10.     If we cannot reach you at your home or work, we would like to have the name and
          telephone number of another person (relative or friend) who knows where and
          when we can reach you. This information is not required, but it will be helpful to
          us.

             Not applicable


  11.     What would you like the institution to do as a result of your complaint — what
          remedy are you seeking?

          Prevent conflicts of interest by separating Title IX officer positions from
          administrative positions involved in enforcing student codes of conduct/honor
          code and prevent the sharing of information from Title IX office to administrative
          offices involved in enforcing student codes of conduct/honor code.

          Cameron would also like La Sierra’s policies amended to state that (1) same-sex
          dating relationships and displays of affection will be treated by La Sierra in the
          same manner as opposite-sex dating relationships and displays of affection; (2)
          students will not be punished for coming out as LGBTQ+ or for expressing their
          sexual or gender identity (through pronouns, clothing, hair, makeup, etc.); (3) La
          Sierra will not encourage or facilitate conversion therapy or any other sexual or
          gender orientation change efforts; (4) students who report sexual or physical
          assault will be granted safe harbor from discipline relating to sexual activity or
          other code of conduct violations; and (5) La Sierra’s non-discrimination policy
          includes sexual orientation and gender identity as applied to all aspects of La
          Sierra, including housing and other programs.




EXHIBIT E                                                                                              3
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   12.     We cannot accept your complaint if it has not been signed. Please sign and datE
           your complaint below.

            07/24/21
            (Date]                        (Signatur(1         .
            Jul 24, 2021
                                                   P.

            (Date]                        (Signature of person in Iterr:2:1




EXHIBIT E                                                                                    4
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                     UNITED STATES DEPARTMENT OF EDUCATION                                            REGION IX

                                     OFFICE FOR CIVIL RIGHTS                                          CALIFORNIA

                                        50 UNITED NATIONS PLAZA
                                         MAIL BOX 1200, ROOM 1545
                                         SAN FRANCISCO, CA 94102



                                              May 3, 2022

Lauren Swain
Paul Southwick Law, LLC
8532 N. Ivanhoe Street, #208
Portland, OR 97203

By email only to: lauren@paulsouthwick.com

       Re:     La Sierra University
               OCR Case No. 09-21-2314

Dear Ms. Swain:

On July 27, 2021, the United States Department of Education’s Office for Civil Rights (OCR)
received your complaint against La Sierra University. You filed the complaint on behalf of a
student at the University, whom we will refer to as the Student, and on behalf of other LGBTQ
students at the University. You allege that the University discriminates on the basis of sexual
orientation and gender identity. Specifically, you allege that:

   1) The University is discriminating against the Student and other LGBTQ students on the
      basis of sexual orientation and gender identity by refusing to officially recognize the
      LGBTQ student group on campus (Allegation 1);

   2) The University is discriminating against the Student and other LGBTQ students on the
      basis of sexual orientation and gender identity because its policies and practices,
      including in its current student handbook, endorse the Seventh-day Adventist doctrine on
      homosexuality, stating that sexual intimacy belongs only within the marital relationship
      of a man and a woman (Allegation 2); and

   3) The University discriminated against the Student on the basis of sexual orientation and
      gender identity by failing to address their two complaints to the University in 2018,
      which alleged that a faculty member made homophobic comments in the classroom and a
      guest lecturer made comments disparaging LGBTQ individuals (Allegation 3).

OCR enforces Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. § 1681 et seq.,
and its implementing regulation at 34 C.F.R. Part 106, which prohibit discrimination on the basis




        The Department of Education’s mission is to promote student achievement and preparation for
            global competitiveness by fostering educational excellence and ensuring equal access.
EXHIBIT E                                                                                                    5
                                               www.ed.gov
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of sex in any education program or activity operated by a recipient of federal financial assistance
from the Department. As a recipient of financial assistance from the Department, the University is
subject to Title IX.

OCR is opening Allegations 1 and 2 for investigation because OCR has determined that it has
jurisdiction, that these allegations were timely filed, and that they are appropriate for
investigation under the laws and regulations enforced by OCR. If you disagree with the way
OCR stated Allegation 1 or 2, please contact the OCR staff person identified below within 10
days of the date of this letter.

Please note that opening the allegations for investigation in no way implies that OCR has made a
determination with regard to their merits. During the investigation, OCR is a neutral fact-finder,
collecting and analyzing relevant evidence from you, the University, and other sources, as
appropriate. OCR will ensure that its investigation is legally sufficient and fully responds to the
allegations in accordance with the provisions of Article III of OCR’s Case Processing Manual
(CPM), available at https://www2.ed.gov/about/offices/list/ocr/docs/ocrcpm.pdf. In accordance
with the CPM, OCR will provide a copy of the complaint to the University.

After carefully reviewing the information you provided, OCR has determined that it will not
investigate Allegation 3. According to the Student, the allegation concerning the University’s
failure to address their two discrimination complaints occurred in the spring and winter of 2018.
As explained in Section 106 of the CPM, OCR generally will take action only with respect to
allegations that are filed within 180 days of the alleged discrimination unless OCR grants a
waiver under Section 107 of the CPM. You filed this complaint on July 27, 2021, more than 180
days after the University allegedly discriminated against the Student in the spring and winter of
2018.

You requested a waiver of the 180-day filing requirement for Allegation 3 on the following
bases:

       1) the COVID-19 pandemic;
       2) the Trump administration’s policies and statements about religious exemptions to
          Title IX;
       3) the Trump administration’s policies and statements about Title IX not prohibiting
          discrimination on the basis of sexual orientation or gender identity; and
       4) although the initial act of discrimination took place more than 180 days ago, [the
          Student’s] complaint should not be considered time-barred because the University
          continues to discriminate against [the Student] and to promulgate policies and
          practices that discriminate against LGBTQ+ students.

OCR has reviewed your request and declines to waive OCR’s 180-day deadline. OCR is
accordingly dismissing Allegation 3 as untimely under Section 108(d) of the CPM.

You have a right to appeal OCR’s dismissal of Allegation 3 within 60 calendar days of the date
indicated on this letter. An appeal can be filed electronically, by mail, or by fax. You must either
submit (1) a completed appeal form online at https://ocrcas.ed.gov/content/ocr-electronic-appeals-




EXHIBIT E                                                                                         6
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form or (2) a written statement of no more than 10 pages (double-spaced, if typed) by email to
OCR@ed.gov, by fax to 202-453-6012, or to the Office for Civil Rights, U.S. Department of
Education, 400 Maryland Avenue SW, Washington, D.C. 20202. The filing date on an appeal is
the date the appeal is postmarked, submitted electronically, or submitted by fax. In the appeal,
you must explain why you believe the factual information described here was incomplete or
incorrect, the legal analysis was incorrect, or the appropriate legal standard was not applied, and
how correction of any error(s) would result in the case being opened for investigation; failure to
do so may result in dismissal of the appeal.

OCR would like to make you aware that individuals who file complaints with OCR may have the
right to file a private suit in federal court whether or not OCR finds a violation.

This letter sets forth OCR’s determination in an individual OCR case. This letter is not a formal
statement of OCR policy and should not be relied upon, cited, or construed as such. OCR’s
formal policy statements are approved by a duly authorized OCR official and made available to
the public.

Please be advised that the University must not harass, coerce, intimidate, discriminate, or otherwise
retaliate against an individual because that individual asserts a right or privilege under a law
enforced by OCR or files a complaint, testifies, assists, or participates in a proceeding under a law
enforced by OCR. If this happens, the individual may file a separate retaliation complaint with
OCR.

Under the Freedom of Information Act (FOIA), it may be necessary to release this document and
related correspondence and records upon request. If OCR receives such a request, we will seek to
protect, to the extent provided by law, personally identifiable information that could reasonably be
expected to constitute an unwarranted invasion of personal privacy if released.

If you have any questions or concerns, please contact Blake Thompson, Deputy Chief Attorney at
415-486-5630 or by email at blake.thompson@ed.gov.

                                              Sincerely,



                                              Anamaria Loya
                                              Chief Attorney




EXHIBIT E                                                                                          7
